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 1   WILKINSON STEKLOFF LLP                       COVINGTON & BURLING LLP
     Brian L. Stekloff (pro hac vice)             Michael X. Imbroscio (pro hac vice)
 2   (bstekloff@wilkinsonstekloff.com)            (mimbroscio@cov.com)
 3   Rakesh Kilaru (pro hac vice)                 One City Center
     (rkilaru@wilkinsonstekloff.com)              850 10th St. NW
 4   2001 M St. NW                                Washington, DC 20001
     10th Floor                                   Tel: 202-662-6000
 5   Washington, DC 20036
     Tel: 202-847-4030 | Fax: 202-847-4005        BRYAN CAVE LEIGHTON PAISNER LLP
 6                                                K. Lee Marshall (CA Bar No. 277092)
 7   HOLLINGSWORTH LLP                            (klmarshall@bclplaw.com)
     Eric G. Lasker (pro hac vice)                Three Embarcadero Center, 7th Floor
 8   (elasker@hollingsworthllp.com)               San Francisco, CA 94111
     1350 I St. NW                                Tel: 415-675-3400 | Fax: 415-675-3434
 9   Washington, DC 20005
     Tel: 202-898-5843 | Fax: 202-682-1639        Jed P. White (CA Bar No. 232339)
10                                                (jed.white@bclplaw.com)
11                                                Linda C. Hsu (CA Bar No. 239880)
                                                  (linda.hsu@bclplaw.com)
12                                                120 Broadway, Suite 300
                                                  Santa Monica, CA 90401
13                                                Tel: 310-576-2100 | Fax: 310 -576-2200
14
     Attorneys for Defendant Monsanto
15   Company

16                              UNITED STATES DISTRICT COURT

17                           NORTHERN DISTRICT OF CALIFORNIA

18   IN RE: ROUNDUP PRODUCTS                       MDL No. 2741
     LIABILITY LITIGATION
19                                                 Case No.: 3:16-md-02741-VC

20   Michael J. Caccia, et al. v. Monsanto Co.,    DEFENDANT MONSANTO COMPANY’S
                                                   NOTICE OF MOTION AND MOTION TO
     3:20-cv-01915-VC                              EXCLUDE TESTIMONY OF DR.
21
                                                   WILLIAM SAWYER
     Robert Cotter, et al. v. Monsanto Co.,
22
     3:20-cv-03108-VC                              Hearing:
23                                                 Date: March 1, 2024
     William Turnoff, et al. v. Monsanto Co.,      Time: 10:00 a.m.
24   3:19-cv-03837-VC                              Place: San Francisco Courthouse,
                                                          Courtroom 4 – 17th Floor
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                         MOTION TO EXCLUDE TESTIMONY OF WILLIAM SAWYER
     Case 3:16-md-02741-VC Document 17588 Filed 12/11/23 Page 2 of 4




 1   TO THE COURT, ALL PARTIES, AND THEIR ATTORNEYS OF RECORD:
 2          PLEASE TAKE NOTICE THAT on March 1, 2024 at 10:00 a.m. in Courtroom 4 of
 3   the United States District Court, Northern District of California, located at 450 Golden Gate
 4   Avenue, San Francisco, CA 94102, or as ordered by the Court, Defendant Monsanto Company
 5   (“Monsanto”) will present its Motion to Exclude Testimony of Dr. William Sawyer. Monsanto
 6   seeks an order excluding opinions of this witness under Federal Rule of Evidence 702.
 7

 8   Dated: December 11, 2023                   Respectfully submitted,
 9                                              BRYAN CAVE LEIGHTON PAISNER LLP
10
                                                /s/ Linda C. Hsu
11                                              Linda C. Hsu
                                                Attorneys for Defendant Monsanto Company
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                       MOTION TO EXCLUDE TESTIMONY OF WILLIAM SAWYER
     Case 3:16-md-02741-VC Document 17588 Filed 12/11/23 Page 3 of 4




 1            Monsanto hereby moves to exclude Plaintiffs’ expert Dr. William Sawyer under Federal
 2   Rule of Evidence 702 and Daubert v. Merrell Dow Pharm., Inc., 509 U.S. 579, 589 (1993) in
 3   the above-captioned cases. Monsanto recognizes the Court’s Pretrial Order Nos. 201 and 260,
 4   in which the Court “ruled on what Dr. Sawyer would and would not be allowed to testify to.”
 5   Pretrial Order No. 260 (citing Pretrial Order No. 201).
 6         Therefore, consistent with the Court’s instruction not to re-litigate issues previously ruled
 7   upon, but in order to fully preserve the record, Monsanto hereby incorporates the following
 8   pleadings that were filed on the MDL docket:
 9                 Monsanto’s Motion to Exclude Testimony of Dr. William R. Sawyer on Daubert
10   Grounds (ECF No. 2418)
11                 Monsanto’s Motion to Exclude Testimony of Dr. William R. Sawyer on Daubert
12   Grounds (Dkt. No. 8010) and Reply in Support (Dkt. No. 8532)
13                 Monsanto’s Motion to Exclude Testimony of Dr. William R. Sawyer on Daubert
14   Grounds (Dkt. No. 8572) and Reply in Support (Dkt. No. 8907)
15                 Monsanto’s Motion to Exclude Testimony of Dr. William R. Sawyer on Daubert
16   Grounds (Dkt. No. 8573)
17                 Monsanto’s Motion to Exclude Testimony of Dr. William R. Sawyer (Dkt. No.
18   12793) and Reply in Support (Dkt. No. 12941)
19                 Monsanto’s Motion to Exclude Testimony of Dr. William Sawyer under Rule 702
20   (Dkt. No. 13779) and Replies in Support (Dkt. Nos. 14056 and 14165)
21                 Monsanto’s Motion to Exclude Testimony of Dr. William Sawyer (Dkt. No.
22   13913) and Reply in Support (Dkt. No. 14085)
23                 Monsanto’s Motion to Exclude Testimony of Dr. Charles Benbrook and Dr.
24   William Sawyer (Dkt. No. 15881)
25                 Monsanto’s Motion to Exclude Testimony of Dr. William Sawyer (Dkt. No.
26   16849)
27            By incorporating by reference its prior filings, Monsanto is in no way waiving any of the
28   arguments raised therein.
                                                      1
                         MOTION TO EXCLUDE TESTIMONY OF WILLIAM SAWYER
     Case 3:16-md-02741-VC Document 17588 Filed 12/11/23 Page 4 of 4




 1          In accordance with Pretrial Order Nos. 201 and 260, Monsanto also hereby expressly
 2   reserves its right to file new motions to exclude Dr. Sawyer after the above-captioned cases are
 3   transferred to their home districts for trial, including raising case-specific arguments and/or
 4   additional arguments not previously ruled on in this MDL. See Pretrial Order No. 260 (“To the
 5   extent Monsanto moves to exclude Dr. Sawyer’s testimony on issues unrelated to causation . . .
 6   those are issues that are more appropriate for the district judge who will be trying these cases. .
 7   . . Accordingly, Monsanto’s motion to exclude Dr. Sawyer’s testimony on these grounds are
 8   denied without prejudice to filing new motions with the district judges who will be trying the
 9   cases.”).
10   Dated: December 11, 2023                     Respectfully submitted,
11                                                BRYAN CAVE LEIGHTON PAISNER LLP
12
                                                  /s/ Linda C. Hsu
13                                                Linda C. Hsu
                                                  Attorneys for Defendant Monsanto Company
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                                     CERTIFICATE OF SERVICE
16
            I HEREBY CERTIFY that on December 11, 2023, a copy of the foregoing was filed
17   with the Clerk of the Court through the CM/ECF system, which sent notice of the filing to all
     appearing parties of record.
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19                                                /s/ Linda C. Hsu
                                                  Linda C. Hsu
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                         MOTION TO EXCLUDE TESTIMONY OF WILLIAM SAWYER
